                    Case 23-50334             Doc 1                  Filed 07/12/23 Entered 07/12/23 12:17:24 Desc Main
                                                                        Document    Page 1 of 9        FILED HARRISONBURG, VA
                                                                                                                              U.S. BANKRUPTCY COURT
                                                                                                                                                             tl:65Arn
                                                                                                                                         JUL   I zzozS
       United States Bankruptcy Court for the:
                                                                                                                          tsy
                      District of


       Case number    Uf known\:                                         Chapter you are filing under:
                                                                         E
                                                                         E
                                                                             chapter 7
                                                                             Chapterll
                                                                                                                                      6   Check if this is an
                                                                                                                                          amended filing
                                                                         D   chapter   12
                                                                         E   Chapter 13




Official Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy                                                                                                    '|'2122

The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A marr¡ed couple may f¡le a bankruptcy case together-called a
ioint cas*-and   ln joint cases, these forms use you to ask for lnformation from both debtors. For example, if a form asks, ,,Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Deöfor I and
 Debtor 2to distinguish between them. ln joint cases, one of the spouses must report information as Debtor l and the other as Debtor 2.¡he
same person must be Debtor I in all of the forms.
Be as complete and accurate as possible. lf two marr¡ed people are f¡ling together, both are equally respons¡ble for supplying correct
information' lf more space is needed, attach a separate sheet to thls form, On the top of any additional pages, write your ñame and case number
(if known), Answer every questlon.

               ldentlfy Yourself

                                        About                                                            About Debtor 2 (Spouse Only in a Jo¡nt Case):
 r.    Your full name
       Write the name that is on your   F¡rsl name                                                       First name
       government-issued p¡cture
       identifi cation (for example,
       your dr¡vefs license or                                                                           Middle name
       passport).
                                                            (,
                                              name                                                       Last name
       Bring your picture
       identification to your meeting
       w¡th the trustee.                Suffix (Sr., Jr., ll, lll)                                       Suffix (Sr., Jr., ll, lll)


  z. All other names you
       have used in the last        I    F¡rst name                                                      First name
       years
                                         Middle name                                                     Middle name
       lnclude your married or
       maiden names and any
                                         Last neme                                                       Last name
       assumed, trade names and
       do¡ng bus¡ness as names.
                                         First name                                                      l-rrst name
       Do NOT list the name of any
       separate legal entity such as
                                         Middle name                                                     Middle name
       a corporation, partnersh¡p, or
       LLC that is not fìling this
       petition.                         Last name                                                       Lasl name


                                         eusìness narne ¡t       appticaUte¡                             Business name (¡f applicable)


                                         Business name (if applicable)                                   Business name (if applicable)




  r.   Only the last 4 digits of
       your Social Security             XXX - XX-                    I       I-{t_LU                     XXX       - XX-
       number or federal                OR
                                                                                             t           OR
       lndividual Taxpayer
       ldentification number             9xx      -    xx    --                                          9xx       -   xx     -_
       0ÏN)
Official Form   101                                   Voluntary Pet¡tion for lndividuals Filing for Bankruptcy                                   page   1
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Debtor   1
                                                                                                       Case number
             FÛSt NAme    M¡ddle Name




                                        About Debtor         1:                                              About Debtor 2 (Spouse Onl¡r in a JointrCase):


 4. Your Employer
     ldentification Number              Ell.t                                                                EIN
     (ElN), if any.                             -                                                                   -

                                        EIN                                                                  EIN




                                        qr8
 s. Where you live                                                                                           lf Debtor 2 lives at a different address:



                                                                                                             Number




                                                                  ^
                                                                            il
                                        C¡ty

                                                ¡aartrcr,,cl<
                                        County                                                               County


                                        lf your ma¡ling address ¡s d¡fierent from the one                    lf Debtor 2's malllng address is different from
                                        above, fill it in here. Note that the court will send                yours, fill ¡t in here. Note that the court will send
                                        any notices to you at this mailing address.                          any notices to this mailing address.



                                        Number            Street                                             Number           Street



                                        P.O. Box                                                             P.O. Box



                                        City                                      State     ZIP Code         City                                     Slate     ZIP Code




 6. Why you are choosing                Check one:                                                           Check one:
     this districtto file for
     bankruptcy                         VOver        the last 180 days before fìl¡ng this petition,          E      Over the last 1BO days before fìling this petition,
                                                I have lived in this district longer than in any                    I have l¡ved in this district longer than in any
                                                other district.                                                     other district.

                                        E       I have another reason. Explain.                              E      I have another reason. Explain.
                                                (See 28 U.S.C. S 1408.)                                             (See 28 U.S.C. S 1408.)




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    Debtor I
                       Nahe
                                              /,;f,                                              Case number   1ir




    Eãí24 Tell the            Gourt About Your Bankruptcy Gase


    z.   The chapter of the              Check one. (For a brief description of each, see Nofrbe Reguired by 11 U.S.C. S 342(b) for tndividuats Fiting
         Bankruptcy Code you             for Bankruptcy (Form 201 0)). Also, go to the top of page I and check the appropriate box.
         are choosing to file
         under                           E Chapter z
                                         E Chapter 11
                                         E Chaoter 12
                                         ñnatpter ts

    s.   How you will pay the fee        Uf I w¡ll pay the entire fee when I file my petition. Please check with the clerk's office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier's check, or money order. lf your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                         El lneed to paythe fee in installments. lf you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in lnstallments (Official Form '1034).

                                         I   I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


    g.   Have you filed for              Eruo
         bankruptcy within the
         last 8 years?                   t"".      D¡strict                             When
                                                                                                MM/ DD/YYYY
                                                                                                                     Case number


                                                   District                             When                         Case number
                                                                                                MM/ DD/YYYY
                                                   District                             When                         Case number
                                                                                                MI\/l/ DD/YYYY



    ro. Are any bankruptcy
         cases pending or being
                                         l*"
         filed by a spouse who is        E Yes.    o"¡rot                                                            Relalionship to you
         not filing this case with
         you, or by a business
                                                   D¡strict                             When                         Case number, ¡f   known_
                                                                                                MM/DD /YYYY
         partner, or by an
         affiliate?
                                                   Debtor                                                            Relalionship to you

                                                   District                             When                         Case number, if   known_
                                                                                                MM/DD/YYYY


I 11. Do you rent your
,        residence?
                                         d   No.   Go to line 12.
                                         E Yes     Has your landlord obtained an evict¡on judgment against you?

                                                   E    ruo. Go to tine 12.
                                                   E]   Yes. Fill out /nlfral Sfatement About an Eviction Judgment Againsf You (Form 101A) and f¡te      ¡t as
                                                        part ofth¡s bankruptcy petition.




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Debtor I                                                                                                    Case number
                                   MrOdte Nãme




EEÌÍFH        Report About Any Businesses You Own as a Sole proprietor

12. Ate   you a sole propr¡etor                  {^.o"to            Part4.
      of any full- or part-time
      business?                                  E   Yes. Name and location of business
      A sole propr¡etorship is a
      business you operate as an
      individual, and is not a                              Name of business, if any
      separate legal entity such as
      a corporation, partnership, or
      LLC,                                                  Number           Street

      lf you have more than one
      sole proprietorsh¡p, use a
      separate sheet and attach       ¡t
      to this petition.
                                                             C¡ty                                                   St'dte         ZIP Code


                                                            Check the appropriate box to describe your business:
                                                            E   t-tealth Care Business (as defined in 11 U.S.C. S 101(274))

                                                            E   Singte Asset Real Estate (as defìned in 1 1 U.S.C. S 10f (S1 B))

                                                            E   Stockbroker (as defined in 11 U.S.C. S 101(534))
                                                            E   Commodity Broker (as defined in 11 U.S.C. S 101(6))
                                                            E   None    ofthe above


13.   Are you fíling under                       If you are f¡l¡ng under Chapter 11, the couft must know whether you are a small business debtor or a debtor
      Chapter 11 ofthe                           choosing to proceed under Subchapter V so that ¡t can set appropriate deadtines. lf you indicate that you
      Bankruptcy Code, and                       are a small business debtor or you are choosing to proceed under Subchapter V, yoi.l must attach your
      are you e small þusrness                   most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                                 if aryr of these documents do nót exist, follow the procedure in 11 U.S.C. $ 11f 6(1XB).
      debtorüadebtoras
      defined by 11 U.S. C. g                    [fruo.     I am not f¡l¡ng under Chapter 11,
      1182(11?
                                                 E ruo.     I am filing under Chapter 1l, but I am NOT a small business debtor according to the definition in
      For a definition o'f small
                                                            the Bankruptcy Code.
      busrness debfor, see
      11 U.S.C. S 101(51D).                      E   Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                          Code, and I do not choose to proceed under Subchapler V of Chapter 1 1.
                                                 E   yes.   I am filing under Chapter 11, I am a debtor according to the definition in S 1182(1) of the
                                                            Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 1 1.




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Debior I                                                    b     <e                           Case numbet   (¡Tk¡ow¡)_



 lrãfZF       Report if You Own or Have Any Hazardous Property or Any Property That Needs tmmediate Attention


 14. Do    you own or have any           No
     propefi that poses or is
     alleged to pose a threat          E Yes. \Mat is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                               lf immediate attention is needed, why is it needéd?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repa¡rs?
                                               Where is the property?
                                                                        Number        Street




                                                                                                                          State   ZIP Code




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Debtor   1
                                               /                                                         Case number




lrEliGF      Explain Your Efforts to Receive a Briefing About Gredit Gounseting

1s. Tellthe court whether            About Debtor 1:                                                          About Debtor 2 (Spouse Only in a Joint Case):
   you have rece¡ved a
   brieflng about credit             You must check one:                                                       You must check one:
   counseling.
                                     Ef I rece¡ved a briefing from an approved cred¡t                         E   I received a brlefing from an approved credit
                                           counseling agency within thê 180 days before              I            counseling agency within the 1 B0 days before          I
   The law requires that you               filed this bankruptcy petition, and I received a                       f¡led th¡s bankruptcy petition, and I received a
   receive a briefing about credit         cert¡f¡cate of completion.                                             certificate of complet¡on.
   counseling before you file for
   bankruptcy. You must                    Attach a copy of the certificate and the payment                       Attach a copy of the cert¡ficate and the payment
   truthfully check one of the             plan, if any, that you devetoped with the agency.                      plan, if any, that you developed with the agency.
   following choices. lf you
   cannot do so, you are not         fll     received a briefing from an approved cred¡t                      E   I received a briefing from an approved cred¡t
   eligible to file.
                                           counseling agency within the 180 days before I                         counseling agency within the 180 days before           I       .
                                           f¡led this bankruptcy petition, but I do not have a                    filed this bankruptcy petition, but I do not have          a   i
                                           certificate of completion.                                             cert¡ficate of completion,
   lf you file anyway, the court
   can dismiss your case, you
                                           Within 14 days after you file this bankruptcy petit¡on,                Within 14 days after you fìle this bankruptcy petition,
                                           you MUST file a copy of the cert¡ficate and payment                    you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                           plan, if any.                                                          plan, if any.
   you paid, and your cred¡tors
   can begin collect¡on activities
                                     p/f    certity that I asked for crectit counseling                       E   Icertify that I asked for credit counseting
   aga¡n.                             '    services from an approved agency, but was                              services from an approved agency, but was
                                           unable to obtain those services during the 7                           unable to obtain those services during the 7
                                           days after I made my request, and exigent                              days after I made my rêquest, and ex¡gent
                                           circumstances mer¡t a 30-day temporary waiver                          circumstances merit a 30-day temporary waiver
                                           of the requirement,                                                    of the requirement.
                                           To ask for a 30-day temporary waiver of the                            To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet expla¡ning                        requ¡rement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why                      what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for                      you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                             bankruptcy, and what exigent circumstances
                                           required you to file this case.                                        required you to fìle this case.
                                           Your case may be d¡smissed if the court is                             Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a                     dissat¡sf¡ed with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                              briefing before you filed for bankruptcy.
                                           lf the court is satisfìed with your reasons, you must                  lf the court is satisfieá with your reasons, you must
                                           still receive a briefing within 30 days after you file.                st¡ll rece¡ve a briefìng within 30 days after you fìle.
                                           You must fìle a certificate from the approved                          You must f¡le a cert¡ficate from the approved
                                           agency, along with a copy ofthe payment plan you                       agency, along with a copy of the payment plan you
                                           developed, if any. lf you do not do so, your case                      developed, if any. lf you do not do so, your case
                                           may be dismissed.                                                      may be dismissed.
                                           Any eltension ofthe 30-day deadline is granted                         Any extension ofthe 30-day deadline is granted
                                           only for cause and is limited lo a max¡mum of 1S                       only for cause and is limited to a maximum of 1S
                                           days.                                                                  days.

                                     E     Iam not required to receive a briefing about                       E   Iam not requ¡red to receive a briefing about
                                           credit counseling because of:                                          credit counseling because of:
                                           E   lncapacity.    I have a mental illness or a mental                 D    lncapacity.   I have a mental illness or a mental
                                                              defìciency that makes me                                               deficiency that makes me
                                                              incapable of realizing or making                                       ¡ncapable of realizing or making
                                                              rational decisions about finances.                                     rat¡onal decisions about fìnances.
                                           0   Disab¡l¡ty.    My physical disabit¡ty causes me                    E Disability.      My physicat disabit¡ty causes me
                                                              to be unable to part¡cipate in a                                       to be unable to partic¡pate ¡n a
                                                              briefìng in person, by phone, or                                       briefing in person, by phone, or
                                                              through the internet, even after   I
                                                              reasonably tried to do so.                                             9,".i',1:   ff ,Tåi?;.åo":::'0"''
                                           B   ective duty. I am currenily on active m¡litary                     E    Act¡ve duty. I am currently on active military
                                                              duty in a military combat zone.                                        duty in a military combat zone.
                                           lf you believe you are not required to receive a                       lf you believe you are not required to rece¡ve a
                                           brief¡ng about credit counseling, you must fìle a                      briefing about credit counseling, you must fìle a
                                           mot¡on for waiver of credit counseling with the court.                 motion for waiver of credit counseling with the court.




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 Debtor   1
                  FIÍAI NâûE
                                                                                                              Case number
                               Middle Name                Låst Name




 EEreT        Answer These Quest¡ons for Report¡ng purposes

I to. What kind of debts do                  16a.   Are your debts primarily consumer debts? Consumerdebts are defined in 11                      U.S.C. S 101(B)
                                                    a¡þcurred by an individual primarily for a personal, family, or household purpose.,,
      you have?
                                                    ü4rr¡o. co to tine 16b.
                                                    (v"".      Go to tine 17.

                                             16b.   Are your debts primarily business debts? Busrness deófs are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.

                                                    Q/tto. coto        tine 16c.
                                                    E    Yes. Go to line 17.

                                             16c. state the type of debts you owe that are not consumer debts or bus¡ness debts.



 17.   Are you filing under                  y'*o.
       Chapter 7?                                        , am not fiting under Chapter 7. Go to line 18.

       Do you estimate that     after E           Yes. I am filing under Chapter 7. Do you estimate that afier any exempt property is excluded and
       any exempt property      is                     administrative expenses are paid that funds will be available to distr¡bute to unsecured creditors?
       excluded and                                      E   ruo
       administrative expenses
       are paid that fund's will be                      E   Yes
       available for distributíon
       to unsecured creditors?
 ta. How many creditors do
     you estimate that you
                                                  1-49                                   fl   r,ooo-s,ooo                          E    zs,oot-so,ooo
       owe?
                                             E    so-ss                                  0    s,oor-ro,ooo                         E    so,oor-roo,ooo
                                             E    roo-rsg                                E    ro,oor-zs,ooo                        E    More than 100,000
                                             El   zoo-gsg

 ts. How much do you                                                                     E $r,ooo,oor-$10 milion                   E    $soo,ooo,oo1-$1 þilion
       estimate your assets to               E $so,oor-$roo,ooo                          E $to,ooo,oor-$so milion
       be worth?
                                                                                                                                   E    $r ,ooo,ooo,oo1-g1o bilion
                                             E $roo,oor-$soo,ooo                         E $so,ooo,oor-$1oo milion                 E    $r o,ooo,ooo,oo1-$50 bilion
                                             E $soo,oor-$r m¡rion                        E $t oo,ooo,ool-$soo milion               E    More than $50 billion

zo. How much do you                          E    $o-$so,ooo                            E sr,ooo,oor-$lo milion                    E    gsoo,ooo,ool-$1 birion
       estimate your liabilities             E ¡ioo,oor-sroo,ooo                        E $r o,ooo,oor-$so minion
       to be?
                                                                                                                                   E    $r,ooo,ooo,oo1-$10 bilio
                                             ú$r oo,oor-gsoo,ooo                        E $so,ooo,oor-$1oo milion                  E    gro,ooo,ooo,oor-gso oilrlln
                                             E $soo,oot-$t m¡¡¡ion                      E $roo,ooo,oo1-$5oo milion                 E    More than $50 billion
 fiEtifE      Sign Below

                                             I have examined this petition, and I declare under penalty of perjury that the informat¡on prov¡ded is true
 For you                                     correct.
                                                                                                                                                         and

                                             lf I have chosen to fìle under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7 11,12,
                                                                                                                                                    ,       or 13
                                             of t¡tle I 1, United States Code. I understand the relief availabie under each c-haptêr, and I chóose to proceed
                                             under Chapter 7.
                                             lf no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help
                                                                                                                                                   me fill out
                                             this document, I have obtained and read the notice required 6y 1 1 U.S.C. 342(b).
                                                                                                                      S
                                             I request relief in accordance with the chapter of title 11, Un¡ted States Code, specifìed in
                                                                                                                                           th¡s petition.
                                             I understand                a false statement, concealing property, or obtaining money or property by fraud ¡n connection
                                             with a                   case can result ¡n fines up to $250,000, or lmprisonment for up to 20 years, or both.
                                             1B U.S.C.                    1, 1519, and 3571

                                             x                                                                   x
                                                  Signature of Debtor I                                              Signature of Debtor 2

                                                  Executed                   lL ?ÃZ I
                                                                           IDDI
                                                                                                                     Executed on
                                                                                                                                   MM   / DD   /YYYY

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Debtor   1
             FtEt Name
                                                                                                Case number
                             Name               Last Name




                                    I' the attorney for the debto(s) named in this petition, declare that I have informed the debtor(s)
For your attorney, if you are                                                                                                              about et¡gib¡l¡ty
                                    to proceed under Chapter 7,11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one
                                    available under each chapter for which the person is eligible. I also certiry that I have delivered to the debto(s)
                                    the notice required by 11 U.S.C. S 342(b) and, in a case in which S 707(b)(4XD) appties, certify that I have
lf you are not represented                                                                                                                             no
                                    knowledge after an inquiry that the information in the schedules filed w¡th the petition is incorrect.
by an attorney, you do not
need to file this page.
                                    ,c                                                                   Date
                                         Signature of Attorney for Debtor                                               MM /       DD /YYYY



                                                 name



                                         Firm name



                                         Number      Streel




                                         Cily                                                           Stete           ZIP Code




                                         Contacl phone                                                  Email address




                                         Bar number                                                     State




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Debtor I
             Fksl Name
                                                                                                              Case number
                         Middle Nahe                     Last Name




For you if you are filing this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                       should understand that many people find it extremely difficult to represent
attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
lf you are represented by
an attorney, you do not                     To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                     technical, and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                            hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. lf that happens, you could lose your right to file another
                                            case, or you may lose protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. lf you do not list a debt, the debt may not be discharged, lf you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. lndividual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                            lf you decide to file without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                            consequences?
                                            E     trto

                                            Qzles
                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete, you could be fined or imprisoned?
                                            Q,tlo
                                            dr""
                                            D1[Vou pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            ly'no
                                            E     Yes.NameofPers
                                                            Allach   B an    kru ptcy Petition Preparer's Notice, Declaration, and SiQnature (OÍfrcial Form 119)




                                            By signing here, I acknowledge that I understand the risks involved in filing without an attorney.                     I

                                            have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                            attorney     cause me to lose my rights or property if I do not properly handle the case


                                       ,(                                                                         x
                                                             of Debtor   1                                             Signalure of Debtor 2

                                            Dare oJJ?-¿g¿
                                                  MM/DD /YYYY
                                                                                            9                          Date
                                                                                                                                        MM/
                                            Contact phone            lqo r?)                    ¿fu    *x              Contact phone
                                                                                                                                               DD /YYYY



                                            Cell phone                                                                 Cell phone

                                            Email address                                                              Ema¡l address



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